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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

   GRANT HOUSE, SEDONA PRINCE,                        Local Case No. 1:22-mc-20214
   AND TYMIR OLIVER,
                                                      Original (Issuing) Case Pending In:
          Petitioners,                                In re Student Athlete NIL Litigation
   v.                                                 Case No. 4:20-cv-03919-CW (N.D. Cal.)

   FLORIDA INTERNATIONAL
   UNIVERISTY,

         Respondent.
   ___________________________________/
            RESPONDENT’S NOTICE OF FILING ORDER IN RELATED CASE

         Respondent, Florida International University (“FIU”), by and through its undersigned

  counsel hereby gives notice of filing the Order entered by United States Magistrate Judge Melissa

  Damian on July 25, 2022, in the related case pending in this District, House v. University of Miami,

  No. 1:22-cv-20194.

                                                Respectfully submitted,

                                        By:     s/ Matthew L. Lines
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 25 day of July 2022, I served a true and correct copy

  of the foregoing by e-mail upon:

   Cristina I. Calvar                               Jeanifer E. Parsigian
   Adam I Dale                                      WINSTON & STRAWN LLP
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                                     /s/   Matthew L. Lines
                                           Matthew L. Lines




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